Case 1:19-cr-10080-LTS Document 2719-67 Filed 08/15/23 Page 1 of 5




         EXHIBIT 69
      Case 1:19-cr-10080-LTS Document 2719-67 Filed 08/15/23 Page 2 of 5
                                                                           1


1                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
2

3     * * * * * * * * * * * * * *
     UNITED STATES OF AMERICA    *
4                                *        CRIMINAL ACTION
                  v.             *        No. 19-10117-IT-1, 2
5                                *
      GREGORY ABBOTT and         *
6     MARCIA ABBOTT              *
      * * * * * * * * * * * * * *
7

8

9                  BEFORE THE HONORABLE INDIRA TALWANI
                       UNITED STATES DISTRICT JUDGE
10                              DISPOSITION
                              October 8, 2019
11

12    APPEARANCES:

13             UNITED STATES ATTORNEY'S OFFICE, (By AUSA Eric S.
          Rosen and AUSA Justin D. O'Connell) 1 Courthouse Way,
14        Suite 9200, Boston, Massachusetts 02210, on behalf of
          the United States of America
15
               MAYER BROWN, LLP, (By Daniel L. Stein, Esq.) 1221
16        Avenue of the Americas, New York, New York 10020, on
          behalf of Gregory Abbott
17
               COVINGTON & BURLING, (By Arlo Devlin-Brown, Esq.)
18        The New York Times Building, 620 Eighth Avenue, New
          York, New York 10018-1405, on behalf of Marcia Abbott
19

20
                                         Courtroom No. 9
21                                       1 Courthouse Way
                                         Boston, Massachusetts 02210
22

23                      James P. Gibbons, RPR, RMR
                          Official Court Reporter
24                     1 Courthouse Way, Suite 7205
                       Boston, Massachusetts 02210
25                       jamesgibbonsrpr@gmail.com
     Case 1:19-cr-10080-LTS Document 2719-67 Filed 08/15/23 Page 3 of 5
                                                                          5


1               DEFENDANT MARCIA ABBOTT:      Yes, I have.

2               THE COURT:   And have you had a chance to discuss it

3    with your counsel?

4               DEFENDANT MARCIA ABBOTT:      Yes, your Honor.

5               THE COURT:   And, defense counsel, were you

6    expecting any evidentiary hearing or have any witnesses to

7    present?

8               MR. STEIN:   No, your Honor.

9               MR. DEVLIN-BROWN:    No, your Honor.

10              THE COURT:   So with that I will turn to the

11   presentence reports, and I'm going to try and do both of

12   these together.

13        In the section on the defendants' conduct, that's

14   Paragraphs 34 to 64 in each of the presentence reports,

15   there were objections one through four by the defendants,

16   and they appeared to have been addressed by Probation; is

17   that correct?

18              MR. DEVLIN-BROWN:    On behalf of Marcia Abbott, yes,

19   your Honor.

20              MR. STEIN:   Yes, on behalf of Gregory Abbott as

21   well.

22              THE COURT:   Okay.

23        And then the next set of objections are all by the

24   government.

25        With regard to the victim impact statement, that's
     Case 1:19-cr-10080-LTS Document 2719-67 Filed 08/15/23 Page 4 of 5
                                                                          6


1    Objection One.

2         And the offense level computation, Objections Two

3    through four.

4         And then further objections relating to custody, impact

5    of a plea agreement, probation, and fines.         So this is

6    Government Objections One through Eight, and I believe I

7    have addressed all of those in the order.

8               MR. ROSEN:   That's correct.

9         We just -- you know.

10              THE COURT:   Reserve your objections there.

11        Just to be clear, what we're talking about here, the

12   government, under the Guidelines -- the government's

13   objection here is that the guideline calculation should be

14   based on the amount of money of this transaction, and that's

15   my disagreement with that, and we can discuss it when we get

16   to the appropriate guideline fine.

17        But, at any rate, none of those objections need to be

18   addressed at this time any further, noting the government

19   continues to object on those grounds.

20        And then the last, sort of, objections regarding the

21   offender characteristics, I had Mr. Abbott's Objections 5

22   through 13, and Ms. Abbott's Objections 5 through 8.

23        I believe they were all addressed by the probation

24   officer.    Anything further?

25              MR. STEIN:   No, your Honor.     They were all
Case 1:19-cr-10080-LTS Document 2719-67 Filed 08/15/23 Page 5 of 5
                                                                     67


                      C E R T I F I C A T E




     I, James P. Gibbons, Official Court Reporter for the

United States District Court for the District of

Massachusetts, do hereby certify that the foregoing pages

are a true and accurate transcription of my shorthand notes

taken in the aforementioned matter to the best of my skill

and ability.


     /s/James P. Gibbons             October 11, 2019
        James P. Gibbons




                JAMES P. GIBBONS, CSR, RPR, RMR
                    Official Court Reporter
                  1 Courthouse Way, Suite 7205
                  Boston, Massachusetts 02210
                    jamesgibbonrpr@gmail.com
